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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF OKLAHOMA



MARVIN KENT POWELL and
SHAWNA POWELL,

               Plaintiffs,

V.                                             Case No. FJ-18-3-HE


WILBANKS SECURITIES, INC.,
an Oklahoma corporation, and
AARON BRONELLE WILBANKS,
individually.

               Defendants,

               and


PROSPERITY BANK,

               Garnishee.


                                     ORDER

         Defendant, Aaron Bronelle Wilbanks, filed a Claim for Exemption and

requested a hearing.     After conferring with Defendant and with Plaintiffs'

counsel with respect to timing, the court set a hearing for January 15, 2019 at

10:00 a.m. Defendant did not appear. The court tried to contact Defendant

without success. Defendant made no effort to contact Plaintiffs' counsel or the

court.    Because Defendant failed to appear and present documentation in

support of his claim for exemption, the court denies his claim.
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      Plaintiffs' counsel seeks attorney's fees for his presence at today's

hearing. He also orally requested the court set a hearing on assets. The court

will hold the request for attorney's fees in abeyance.        The court grants

Plaintiffs' request for a hearing on assets, at a date to be determined.

      ORDERED this 15th day of January, 2019.




                                  S'6^ANNEfMITCHELL
                                  UNITED STATES MAGISTRATE JUDGE
